            Case 2:20-cv-02675-PBT Document 11 Filed 12/03/20 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MAJOR GEORGE TILLERY,                           :          CIVIL ACTION
         Petitioner,                            :
                                                :
       v.                                       :          NO.     20-cv-2675
                                                :
KENNETH EASON, et al.,                          :
         Respondents.                           :


                                          ORDER


       AND NOW, this 3RD day of December 2020, upon consideration of Respondents’

Motion for Enlargement of Time to File Response to Petition for Writ of Habeas Corpus

(ECF No. 10), it is hereby ORDERED that the motion is GRANTED. Respondents shall file a

Response no later than February 5, 2021. Should Petitioner wish to file a Reply to the

Respondents’ Response, his Reply SHALL BE FILED within thirty (30) days after service of

the Response.



                                            BY THE COURT:


                                             /s/ Lynne A. Sitarski              .
                                            LYNNE A. SITARSKI
                                            United States Magistrate Judge
